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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 BROCK STONE, et al.,
                   Plaintiffs,

         vs.
                                                    Case No. 1:17-cv-02459-MJG
 DONALD J. TRUMP, et al.,

                        Defendants.


                                    [PROPOSED] ORDER

       Upon consideration of Plaintiffs’ Motion to Compel Initial Disclosures and any

opposition thereto, it is ORDERED this _____ day of ______________, 2018, that Plaintiffs’

Motion to Compel Initial Disclosures is GRANTED.

       Accordingly, it is hereby ORDERED that Defendants shall, not later than two business

days from the date of this Order, serve corrected initial disclosures on Plaintiffs, which,

consistent with the requirements of Federal Rule of Civil Procedure 26(a)(1)(i) and (ii), identifies

“each individual likely to have discoverable information—along with the subjects of that

information—that the disclosing party may use to support its claims or defenses” and provides a

copy or description of “all documents, electronically stored information, and tangible things that

disclosing party has in its possession, custody, or control and may use to support its claims or

defenses.”

       DATED:

                                                              ______________________________
                                                              Hon. Marvin J. Garbis
                                                              U.S. District Judge
